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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
EVANS VERNA and JASSMAN WILLIAMS,
Individually and on Behalf of A.V., an Infant,
and B.V., an Infant, as Parent and Next Friend,
                                                                     INFANT
                                   Plaintiffs,                       COMPROMISE ORDER

        - against -

Supervising Parole Officer PAUL PACHECO,                             15-cv-9985 (CS)
in His Individual Capacity; Parole Officer RITA
FLYNN, in Her Individual Capacity; and Parole                        (ECF Case)
Officer DEENA ROYCE, in Her Individual
Capacity,

                                    Defendants.
---------------------------------------------------------------X

        UPON READING AND FILING the Declaration of Richard S. Pakola, Esq., dated

November 18, 2019, with attached exhibits including the Affidavit of Jassman Williams, the

mother and natural guardian of A.V. and B.V., infants, dated October 30, 2019, the proposed

Order of Compromise, and the proposed Stipulation and Order of Settlement, and upon all of the

pleadings and proceedings heretofore had herein; and it appearing that the best interests of the

infants will be served,

        NOW, on the motion of Richard S. Pakola, Esq., attorney for the Plaintiffs, it is hereby

        ORDERED, subject to the filing and approval of the Stipulation of Settlement in this

action, that Jassman Williams, as mother and natural guardian of                (A.V.), an infant,

and                (B.V.), an infant, is authorized, empowered and directed to compromise and

settle the causes of action on behalf of the infants for damages sustained by the infants in the sum

of TWENTY-TWO THOUSAND and 66/100 DOLLARS ($22,666.66) for                                 (A.V.)




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and TWENTY-TWO THOUSAND and 66/100 DOLLARS ($22,666.66) for                               (B.V.);

and it is further

        ORDERED, subject to the filing and approval of the Stipulation of Settlement in this

action, that the total settlement of ONE HUNDRED FIFTY THOUSAND DOLLARS

($150,000.00) be paid by Defendants, and it is further

        ORDERED, subject to the filing and approval of the Stipulation of Settlement in this

action, that out of the aforesaid ONE HUNDRED FIFTY THOUSAND DOLLARS

($150,000.00), the sum of THREE THOUSAND DOLLARS ($3,000.00) be allowed and made

payable to Richard S. Pakola, Esq., to reimburse him for costs and expenses advanced in the

prosecution of the within action; and it is further

        ORDERED, subject to the filing and approval of the Stipulation of Settlement in this

action, that out of the aforesaid ONE HUNDRED FIFTY THOUSAND DOLLARS

($150,000.00), the sum of FORTY-NINE THOUSAND DOLLARS ($49,000.00) be allowed and

made payable to Richard S. Pakola, Esq., as full payment of his attorney’s fees for professional

services rendered herein, and it is further

        ORDERED, subject to the filing and approval of the Stipulation of Settlement in this

action, that THIRTY THOUSAND DOLLARS ($30,000.00) be allowed and made payable to

Evans Verna, and it is further

        ORDERED, subject to the filing and approval of the Stipulation of Settlement in this

action, that TWENTY-TWO THOUSAND SIX HUNDRED SIXTY-SIX and 68/100 DOLLARS

($22,666.68) be allowed and made payable to Jassman Williams; and it is further

        ORDERED, subject to the filing and approval of the Stipulation of Settlement in this

action, that TWENTY-TWO THOUSAND SIX HUNDRED SIXTY-SIX and 66/100 DOLLARS



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($22,666.66) be allowed and made payable to Jassman Williams, as mother and natural guardian

of              (A.V.), an infant, jointly, with an officer of the bank of her choice to be deposited

in the said bank in an account, or accounts, yielding the highest rate of interest available, in the

name of the mother and natural guardian, in trust for the infant and for the sole use and benefit of

the infant; and that the time deposit accounts and/or certificate of deposit accounts shall be

continuously renewed at maturity at the highest rate of interest then available, but the date of

maturity thereof shall not extend beyond the date upon which the infant attains the age of

eighteen (18) years; and that when no such time deposit or certificate of deposit account is

available, then the accumulated funds shall be placed in the bank’s insured money market

account; and it is further

       ORDERED, subject to the filing and approval of the Stipulation of Settlement in this

action, that TWENTY-TWO THOUSAND SIX HUNDRED SIXTY-SIX and 66/100 DOLLARS

($22,666.66) be allowed and made payable to Jassman Williams, as mother and natural guardian

of              (B.V.), an infant, jointly, with an officer of the bank of her choice to be deposited

in said bank in an account, or accounts, yielding the highest rate of interest available, in the name

of the mother and natural guardian, in trust for the infant and for the sole use and benefit of the

infant; and that the time deposit accounts and/or certificate of deposit accounts shall be

continuously renewed at maturity at the highest rate of interest then available, but the date of

maturity thereof shall not extend beyond the date upon which the infant attains the age of

eighteen (18) years; and that when no such time deposit or certificate of deposit account is

available, then the accumulated funds shall be placed in the bank’s insured money market

account; and it is further




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        ORDERED, that upon                   (A.V.) reaching majority at the age of eighteen (18)

years, and upon presentation of the proper proof thereof, the depository shall, without further

order of the Court, and upon the infant’s demand, pay over to               (A.V.) all the monies

so held; and it is further

        ORDERED, that upon                  (B.V.) reaching majority at the age of eighteen (18)

years, and upon presentation of the proper proof thereof, the depository shall, without further

order of the Court, and upon the infant’s demand, pay over to               (B.V.) all the monies

so held; and it is further

        ORDERED, that the filing of a bond is hereby dispensed with; and it is further

        ORDERED, that upon compliance with the terms of the Order, Jassman Williams, as

mother and natural guardian of               (A.V.), an infant, and             (B.V.), an infant,

be and hereby is authorized to deliver releases and any and all papers necessary to effectuate

such settlement and collect such monies herein.

                                                                                                   11/21/19
                                                     ______________________________
                                                     HON. CATHY SEIBEL




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